                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION

 CHELESY EASTEP, as surviving                       )
 Spouse and next of kin of LANDON                   )
 DWAYNE EASTEP,                                     )
                                                    )
               Plaintiff,                           )   No. 3:22-cv-00721
                                                    )
 v.                                                 )   Chief Judge Crenshaw
                                                    )   Magistrate Judge Newbern
 CITY OF NASHVILLE, TENNESSEE;                      )
                                                    )   JURY DEMAND
 BRIAN MURPHY, STEVEN CARRICK,                      )
 EDIN PLANCIC, SEAN WILLIAMS,                       )
 JUSTIN PINKELTON, and JAMES                        )
 KIDD, in their individual capacities as            )
 officers of the Metropolitan Nashville             )
 Police Department;                                 )
                                                    )
 CITY OF MT. JULIET, TENNESSEE;                     )
                                                    )
 FABJAN LLUKAJ, in his individual                   )
 capacity as an officer of the Mt. Juliet           )
 Police Department;                                 )
                                                    )
 and                                                )
                                                    )
 REGGIE EDGE, JR., AND CHARLES                      )
 ACHINGER, in their individual                      )
 capacities as officers of the Tennessee            )
 Highway Patrol,                                    )
                                                    )
               Defendants.                          )
                                                    )

                                         MOTION TO STAY

               The Metropolitan Government of Nashville and Davidson County requests that this

Court issue a stay pending the resolution of the Metropolitan Nashville Police Department’s

(“MNPD”) internal investigation conducted by the Office of Professional Accountability

(“OPA”) and its Use of Force Review Board into the incident that underlies this action

(collectively, the “MNPD internal processes”). The Metropolitan Government anticipates that



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these internal reviews will be completed by early 2023, though that is dependent on both (1)

receiving formal notification from the Tennessee Bureau of Investigation (“TBI”) about their

investigation and (2) the scheduling of the Use of Force Review Board. Concluding these

reviews is necessary for the Department of Law to determine if it can represent the individual

Defendants.

               Mt. Juliet does not oppose the stay. Plaintiff has indicated that she does not oppose

extending the time to respond to the complaint for the Metropolitan Defendants until after

this motion is decided. But the Plaintiff has not indicated that she consents to the stay.

               As described more fully in the accompanying memorandum of law, granting the

requested stay will allow the Metropolitan Government to address any representation issues

and will not unduly prejudice Plaintiff. Accordingly, the Metropolitan Government requests

an indefinite stay with status report filings every 60 days on the progress of the MNPD

internal processes.

                                                  Respectfully submitted,

                                                  THE DEPARTMENT OF LAW OF THE
                                                  METROPOLITAN GOVERNMENT OF
                                                  NASHVILLE AND DAVIDSON COUNTY
                                                  WALLACE W. DIETZ (#09949)
                                                  DIRECTOR OF LAW

                                                  /s/ Melissa Roberge
                                                  MELISSA ROBERGE (#26230)
                                                  108 Metropolitan Courthouse
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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing has been served via the
Court’s electronic filing system to:

    David J. McKenzie                           Bob Burns
    Law Office of David Mckenzie                Howell & Fisher, PLLC
    205 West Commerce Street                    3310 West End Avenue, Suite 550
    Lewisburg, TN 37091                         Nashville, TN 37203

    Barbara G. Medley
    Medley & Spivy
    111 West Commerce Street, Suite 201
    Lewisburg, TN 37091

on this 18th day of October 2022.

                                           /s/ Melissa Roberge
                                           Melissa Roberge




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